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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 TEMIMA SPETNER, et al.,

                                      Plaintiffs,

 -against-
                                                        19-cv-005 (ERK) (JAM)
 PALESTINE INVESTMENT BANK,

                                      Defendant.



                THIRD DECLARATION OF MOHAMMAD SAMI AGHBAR

        Mohammad Sami Aghbar declares as follows pursuant to 28 U.S.C. § 1746:

        1.      My name is Mohammad Sami Aghbar. I live in Ramallah, Palestine.

       2.      I have been employed at Palestine Investment Bank (“PIB”) for the last 14 years.
 My current position at PIB is Internal Audit Manager, which I have held since 2010.

      3.    I submit this Declaration in support of PIB’s supplemental letter regarding the Third
 Amended Complaint filed in the above-captioned action.

        4.      I am familiar with the facts set forth herein based on my work history and
 experience at PIB as well as my review of relevant PIB records and publicly available information,
 and on that basis believe them to be true and correct.

        5.     Because English is not my native language, I have received assistance from PIB’s
 U.S. legal counsel in the correct English phrasing of some of the concepts discussed in this
 Declaration. However, all of the facts set forth herein are true and accurate to the best of my
 knowledge.
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        Applicable Know Your Customer and Anti-Terror Financing Laws and Regulations

        6.      As a commercial bank headquartered in Ramallah, Palestine, PIB is and always has
 been regulated by the Palestine Monetary Authority (the “PMA”), the regulatory authority for all
 banks in Palestine. Throughout the 2000-2003 time-period (the “Relevant Period”), 1 the PMA was
 responsible for formulating and implementing monetary and banking policies in Palestine.

         7.     Throughout the Relevant Period and for at least three years thereafter, there were
 no anti-money laundering (“AML”) or countering the financing of terrorism (“CFT”) requirements
 for banks operating in Palestine, apart from the requirement outlined in paragraph 9.

        8.      Throughout the Relevant Period, PIB adhered to the Know Your Customer
 (“KYC”) requirements promulgated by the PMA, as well as PIB’s own internal KYC policies.
 Pursuant to these KYC policies and requirements:

                a.       When opening an account for a prospective individual accountholder, PIB
                required the individual to complete (i) an account opening form and agreement; and
                (ii) a signature-verification form. PIB would then (i) confirm the identity of the
                prospective accountholder; and (ii) ensure that the individual was not on a PMA
                “blacklist” of non-creditworthy customers. The PMA blacklist, which included,
                for example, individuals previously deemed to have passed checks while having
                insufficient funds, was not related to AML or CFT.

                b.      When opening an account for a prospective organizational accountholder,
                PIB required one or more representatives of that organization to complete an
                account opening form and agreement and signature-verification form. PIB would
                then (i) obtain a copy of the organization or entity’s charter (as certified by
                Palestine’s Ministry of Interior); (ii) obtain the approval of the Ministry of Interior,
                which includes confirming with the Ministry that the organization’s signatories
                were authorized; (iii) confirm the identification of the signatories; and (iv) screen
                the organization against the PMA’s abovementioned “blacklist” of non-
                creditworthy customers.

          9.     The only AML regulation promulgated by the PMA during the Relevant Period was
 the requirement to report to the PMA any wire transfers to and from abroad exceeding USD 10,000
 (or its equivalent) in value, and to place such transfers on hold for 24 hours before disbursing the
 underlying funds. This requirement was promulgated on December 20, 2001.

        10.    There were no other PMA requirements related to AML or terror-financing during
 the Relevant Period.

        11.   During the Relevant Period, PIB’s correspondent banks in Jordan (Arab Jordan
 Investment Bank), Israel (Bank Hapoalim), and elsewhere did not impose additional KYC

 1
    I understand this definition of the “Relevant Period” appears in paragraph 22 of the Third
 Amended Complaint. Without agreeing that this time-period is relevant to Plaintiffs’ claims, I use
 it in this Declaration to provide answers to what I understand are the Court’s questions.


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 requirements, or any AML/CFT requirements. Moreover, PIB’s correspondent bank in Israel did
 not reject any transactions during the Relevant Period based on KYC, AML, or terror-financing
 concerns. Finally, PIB never received any communication from any Israeli banks during the
 Relevant Period requesting or instructing that PIB screen its customers or transaction
 counterparties against Israel’s lists of designated Unlawful Associations or Terrorist
 Organizations.

         12.     During the Relevant Period, PIB never received any instructions, inquiries, or
 warnings from Israeli authorities, including any requests or instructions to close or freeze any
 customer accounts, to reject transactions involving any specific counterparty, or to screen
 customers or counterparties against any Israeli government or other blacklists. Additionally,
 Israeli authorities never took any enforcement actions against, or imposed any sanctions on PIB
 related to AML or CFT issues with its customers or counterparties.

        13.    My understanding is that, through the PMA, Palestine began enhancing its efforts
 to combat money laundering and terrorist financing in 2004, when it established the Financial
 Follow-up Office (later renamed the Financial Follow-up Unit).

        14.     In 2006, Palestine joined the Middle East & North Africa Financial Action Task
 Force (“MENAFATF”) as an observer. MENAFATF describes itself as a voluntary organization
 that works to combat money laundering and the financing of terrorism by, among other things,
 implementing the Financial Action Task Force (“FATF”) 40 Recommendations on Combating
 Money Laundering and Financing of Terrorism and Proliferation. 2

        15.    In 2007, Palestine enacted the Anti-Money Laundering Law (Law No. 9) which, to
 my understanding, was prepared with assistance from the International Monetary Fund and
 USAID, and was in accordance with international standards. Before Law No. 9 was enacted, there
 were no anti-money laundering requirements in Palestine other than those described above.

         16.    In 2010, a Banking Law was enacted to bring the PMA’s regulatory capabilities in
 line with the Basel Accords. For example, Article 32 of that law clarified that Palestinian banking-
 secrecy would not restrict the disclosure of information according to AML regulations issued by
 the PMA. The law also gave the PMA regulatory authority over the microfinance sector, and
 provided a legal framework for the establishment of deposit insurance, management of the Real
 Time Gross Settlement system, and the treatment of weak banks.

         17.      In 2015, Palestine enacted AML/CFT Law No. 20, which criminalized money
 laundering and terrorist financing based on its commitment to the international standards issued
 by FATF. Law No. 20, among other things, defined terrorists, terrorist acts, terrorist organizations,
 and terrorist financing, and made terrorist financing a criminal offense in Palestine.

          18.   MENAFATF admitted Palestine as a full member in 2015.

       19.    Palestine continues to develop its AML/CFT regulatory scheme, with AML/CFT
 Law No. 39 enacted in 2022 to replace AML/CFT Law No. 20 of 2015.

 2
     See MENAFATF Overview, at https://www.menafatf.org/about.


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        PIB’s Procedures for Check-Processing

        20.     I have reviewed the copies of the four checks appended as part of Exhibit A to the
 Third Amended Complaint (the “Exhibit A Checks”). As explained further below, PIB did not
 process the checks with “martyr” notations as depicted on the Exhibit A Checks.

         21.     During the Relevant Period, a check deposited by a Palestinian-bank customer and
 drawn on an account at a different Palestinian bank would be processed using the PMA’s
 clearinghouse system, as was required under the PMA’s regulations. In advance of the PMA
 clearinghouse’s daily clearing sessions, each participating bank would, using Magnetic Ink
 Character Recognition (“MICR”) technology, scan checks deposited by its customers and drawn
 on other Palestinian banks and generate an electronic summary file for reconciliation purposes.
 The PMA clearinghouse would then, based on the aggregate summary files it received, determine
 the net debits and credits to be cleared and settled among the participating banks. As part of that
 process, a check would be transferred from the payee bank to the payor bank in a sealed envelope,
 along with any other checks drawn by the payee bank’s customers on accounts at the payor bank.
 The payor bank’s representative would then compare the checks in the envelope with the total net
 amount requested by the payee’s bank for settlement and acknowledge receipt of the checks in
 writing.

         22.     A different process applied to checks presented directly to a payor bank with the
 payee requesting payment in cash (i.e., “cashed checks”), or for checks written from one bank
 customer to another customer at the same bank. For such checks, PIB policies required that a PIB
 employee (typically a teller) review the check and confirm that the identity of the person requesting
 payment matched the beneficiary named on the check. After confirming the beneficiary’s identity,
 the employee would then confirm that (i) the check was properly formatted, such that it included
 all required information to make it valid commercial paper under Palestinian law; (ii) the signature
 on the check matched that of the payor on file; and (iii) there was a sufficient balance in the payor’s
 account to cover the check. Once that information was confirmed, the PIB employee would stamp
 and sign the check, using three separate stamps which indicated that each of the abovementioned
 requirements was met. The check would later be brought to a back-office employee or branch
 manager, who would review it and ensure it was processed correctly.

         23.     Per PIB policy, for a check presented to PIB for payment, a PIB employee would
 apply a fourth stamp indicating that the check had been presented to PIB, and also indicating the
 date on which the check was presented to PIB. Furthermore, a PIB employee would hand-write
 two numbers on the check for identification purposes: (i) an Employee Number, and (ii) a
 Transaction Serial Number generated by PIB’s core-banking system. For example, an annotation
 of “199/51” would indicate that the check was processed by an employee with Employee No. 199,
 and that the underlying transaction was assigned Transaction Serial No. 51 upon entry of the
 transaction into the core-banking system. If a check written by a PIB accountholder bore a PIB
 stamp, that means that the payee either cashed the check at a PIB branch or deposited it at a PIB
 branch to be credited to his or her own PIB account. Checks deposited at other Palestinian banks
 and drawn on PIB accounts would bear the stamp of the payee bank, and not a PIB stamp.




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        The Exhibit A Checks

         24.    I have reviewed the Exhibit A Checks. Using the transactional information on the
 face of the Exhibit A Checks, PIB personnel located within PIB’s archives the four original checks
 that were presented to PIB by the check payees (“PIB’s Archived Checks”). True and accurate
 copies of PIB’s Archived Checks, and certified translations thereof, are appended as Exhibit 1 to
 this Declaration.

         25.     I have compared the Exhibit A Checks to PIB’s Archived Checks. Based on my
 review, I confirm the Exhibit A Checks and PIB’s Archived Checks reflect the same transactions.
 I also confirm that the Exhibit A Checks were not presented to, or processed by, PIB in that form.
 That is, the checks as presented to PIB did not contain the word “martyr” or the related annotations
 that appear on the Exhibit A Checks. Instead, the checks as presented to, and processed by, PIB
 were in the form shown in PIB’s Archived Checks as depicted in Exhibit 1 to this Declaration, and
 do not contain the word “martyr” or any annotation suggesting they were payments for the benefit
 of “martyrs” or any other variation of that word.

      26.    The Exhibit A Checks and PIB’s Archived Checks share certain features in
 common, which, taken together, confirm that the two sets of checks reflect the same transactions:

                a.      Both sets of checks share the same check serial numbers (20000077 through
                20000080, inclusive). These serial numbers are printed on the bottom left-hand
                corner of each check, as well as below the Palestine Investment Bank logo at the
                top left-hand portion of each check.

                b.      Both sets of checks feature the same branch number, printed at the bottom
                left-hand portion of each check as 7689902, as well as in truncated form at the top
                left-hand portion of each check as 899.

                c.      Both sets of checks feature the same account number, printed in full at the
                top right-hand side of the check, and in truncated form at the bottom center portion
                of the check.

                d.    The payee names, payment amounts, check dates, and payor signatures, all
                handwritten in Arabic or Arabic numerals, are identical across both sets of checks.

        27.     The differences between the two sets of checks confirm that the Exhibit A Checks
 could not have been presented to, or processed by, PIB, for the following reasons:

                a.      The Exhibit A Checks do not bear any stamps applied by any Palestinian
                bank. A check drawn on a PIB account would, according to PIB’s policies at the
                time, bear at least three distinct stamps. As explained above in paragraph 22, these
                three stamps would consist of (i) a stamp indicating the check was properly
                formatted; (ii) a stamp indicating the payor signature matched that on file; and (iii)
                a stamp indicating the payor’s account had a sufficient balance to cover the check.
                These three stamps are found on each of PIB’s Archived Checks at the bottom
                center portion of each check, to the right-hand side of the check’s “Signature” field.



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                b.     A check drawn on a PIB account would also bear a fourth, typically larger,
                stamp, indicating the date the check had been presented by the check beneficiary
                for payment and specifying the bank where the check had been presented, as
                explained above in paragraph 23. The Exhibit A Checks do not bear any such
                stamps, while each of PIB’s Archived Checks bears such a stamp at the left-hand
                portion of each check.

                c.      The Exhibit A checks do not bear any handwritten Employee Numbers or
                Transaction Serial Numbers. As explained above in paragraph 23, a PIB employee
                would, per PIB policy, hand-write these two numbers to help identify this
                transaction within PIB’s records. The Exhibit A Checks do not feature any such
                numbers, while each of PIB’s Archived Checks features these numbers at the top
                right-hand portion of the check.

                d.     The handwritten Arabic notes at the left- and right-hand margins of the
                Exhibit A Checks, including the Arabic word for “martyr,” do not appear anywhere
                on PIB’s Archived Checks. As shown in the checks attached to this declaration,
                the margins on the face of each check processed by PIB are too narrow to
                accommodate the annotations depicted in the Exhibit A checks.

         28.   I have reviewed the two “Receipt Vouchers” included within Exhibit A to the Third
 Amended Complaint. Based on my knowledge of PIB’s policies and procedures, PIB never
 generated any such vouchers for its customers or transaction counterparties, nor would PIB have
 viewed, requested, possessed, or retained any copies of such vouchers when processing a
 transaction.

         29.     Footnote 15 of the Third Amended Complaint alleges that an issuing, or payor,
 bank would “manually review[]” a check’s “memorandum line, particularly when the value of the
 check is unusually high.” As is clear from the face of both the Exhibit A Checks and PIB’s
 Archived Checks, checks issued by PIB during the Relevant Period do not have a “Memorandum”
 or “Memo” line or field. Palestinian law during the Relevant Period did not require a check to
 contain any description of the commercial transaction underlying a check in order for the check to
 be legally valid. Further, and as explained above in paragraphs 7 through 10, there was no law or
 regulation promulgated by the PMA during the Relevant Period that would have required a bank
 to investigate the nature of a check transaction regardless of the amount of the payment.

         30.    Paragraph 602 of the Third Amended Complaint alleges that “photocopies of a
 large number of checks transferred by [PIB] to the relatives or representatives of ‘martyrs’ and []
 wounded Palestinians” were “captured by Israeli forces.” PIB stores checks drawn on PIB
 accounts (like PIB’s Archived Checks) within its own archives. Israeli authorities have never
 taken documents from PIB’s archives.




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        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed in Ramallah, Palestine, on the 4th day of August, 2024.




                                                           Mohammad Sami Aghbar




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